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February 18, 2019

VIA ECF

Honorable Andrew T. Baxter
U.S. Magistrate Judge
Federal Building and U.S. Courthouse P.O. Box 7396
Syracuse, New York 13261-7396

Re: Acosta v. Liberty Gas Station and Convenience Store, LLC et al. (5:17-cv-00561-BKS-
ATB)

Dear Honorable Judge Baxter:

On behalf of my client, and as empowered by my duty of zealous representation, ethical duties,
the U.S. Constitution, including without limitation, the 1st, 4th, 5th and 6th Amendments, we
request that the Court use its inherent authority sua sponte to either dismiss this matter with
prejudice or give us a jury trial.

My client wanted me to express his gratitude to you, your Honor, and your chambers. No one has
been so amazing and fairer to my client than the Court has been. Please your Honor, enough is
enough. We are done letting the Plaintiff waste the Court’s time. On the record, Huseyin Turan
is an honorable and great human being. As a man of honor, he wants a jury trial to defend his
honor. No amount of money in the world will replace a person’s dignity and honor. I am a legal
executioner for my client and have been directed to execute and bring down the law like Thor’s
hammer against the Plaintiff. I am bound by my duty to my client.

I am willing to waive everything and give Amy and Alex whatever they want such as stipulations,
inferences and etc., within reason, including letting them pick every juror. Anything that they
need us to waive or sign to get our trial, we are prepared. We request a trial as soon as possible. I
also agree to do everything off top of my head with no notes. Me an Huseyin are going to show
the Department of Labor that justice still exists in the United States.

I am not scared to talk like this because there is someone higher than the Plaintiff, thank God we
have President Donald J. Trump. President Trump is a leader for the people, and my client and I
our confident in our President, who is fighting for people like us. He inspires us to fight back. We
love our President and call on his assistance, and I will defend my right under the Constitution
to say on the record that President Trump is doing an amazing job for our country, which
can be admitted in this Court under Federal Rule of Evidence 201, if Plaintiff does not object.
                                   Anas Saleh, Esq.
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We want our rights back! Look forward to a public trial. E pluribus unum.

Respectfully submitted,

s/ Anas Saleh, Esq.
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cc via ECF: Amy Tai, Esq.
